                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


BERNADETTE WINANS                                    :
as Administrator of the Estate of                    :
CARMELO WINANS, deceased                             :        CIVIL ACTION NO. 11-05138-WY
and on behalf of                                     :
Minor Plaintiffs                                     :
HAROLD JHAMIR WINANS and                             :
JHANAE BECKHAM                                       :
                     Plaintiffs                      :
                                                     :
                v.                                   :
                                                     :
PO RICHARD NICOLETTI,                                :
PO MATTHEW McCARTHY                                  :
           and                                       :
CITY OF PHILADELPHIA,                                :
               Defendants                            :

                                                    ORDER

        AND NOW, this                day of                        , 2013, upon consideration of Plaintiff’s

Motion to Approve Settlement and Distribution, pursuant to E.D.Pa. Local Rule 41.2, it is hereby

ORDERED and DECREED that the Motion is GRANTED. Plaintiff is authorized to enter into

a settlement with Defendants in the amount of One Hundred Eighty Thousand Dollars ($180,000.00)

and to execute the General Release with Addendum attached to her motion as Exhibit “I”.

Defendants shall forward all settlement drafts or checks to Plaintiff’s counsel for proper distribution,

except that the periodic payments described in this Order shall be purchased by Defendant City of

Philadelphia directly.

        IT IS FURTHER ORDERED and DECREED that the settlement proceeds be distributed
as follows:

        To:     Popper & Yatvin, as counsel fee. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $ 63,000.00

        The Wrongful Death Claim in the sum of $ 110,000.00 shall be paid as follows:
       1.      Payable by Defendant City of Philadelphia to BHG Structured Settlements,
               Inc. to fund the periodic payments listed in Section 2(a) and Section 2(b)
               . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $110,000.00

       2.      Funded periodic payments made according to the schedule as follows (the
               "Periodic Payments"):

       2(a)    Payee: Harold Winans

               Lump sum payments as follows:

               $15,000.00 payable at age 19 (12/20/2018).
               $25,000.00 payable at age 25 (12/20/2024).
               $34,000.00 payable at age 30 (12/20/2029).

               All lump sum payments will be paid to either Harold Winans or his estate.

       2(b)    Payee: Jhanae Beckham

               Lump sum payments as follows:

               $20,000.00 payable at age 19 (07/24/2021).
               $25,000.00 payable at age 25 (07/24/2027).
               $39,000.00 payable at age 30 (07/24/2032).

               All lump sum payments will be paid to either Jhanae Beckham or her estate.

       To:     Harold Winans, a minor
               Cash Settlement in a Restricted Account.. . . . . . . . . . . . . . . . . . . . . . . . $ 5,000.00

       To:     Jhanae Beckham, a minor
               Cash Settlement in a Restricted Account.. . . . . . . . . . . . . . . . . . . . . . . . $ 5,000.00

       The Survival Action in the sum of $ 7,000.00 shall be paid as follows:

       To:     Bernadette Winans, Administratrix of the
               Estate of Carmelo Winans. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $ 7,000.00

        Counsel for Plaintiff (and not the parent and/or guardian of the minor) is hereby
AUTHORIZED and specifically DIRECTED to execute all documentation necessary to deposit
the funds belonging to the minor in an interest bearing savings account or savings certificate in a
federally insured bank or savings institution having an office in Philadelphia County IN THE
NAME OF THE MINOR ONLY, in the sum of $ 5,000.00, each not to exceed the insured amount,
with the funds payable to the minor upon majority. The account/certificate shall be titled in the name
of the minor and shall be restricted as follows:

       Not to be redeemed except for renewal in its entirety, not to be withdrawn,
       assigned, negotiated, or, otherwise alienated before the minor attains majority,
       except upon prior Order of Court.

        Defendant City of Philadelphia is hereby AUTHORIZED and DIRECTED to make
payments to fund periodic payments substantially as set forth in section 2, above, under substantially
the terms and conditions set forth in Exhibits “G” and “H” to the Motion, within Sixty (60) days
hereof.

        The Survival Claim in the sum of $ 7,000.00, shall be paid to Bernadette Winans,
Administrator of the Estate of Carmelo Winans, Deceased; provided, however, that counsel shall not
distribute any funds to the said Administrator until additional security as may be required by the
Register of Wills of Philadelphia County pursuant to 20 Pa.C.S. §3323(b)(3) is posted.

        Counsel for Plaintiff shall file with the Clerk of District Court within Ninety (90) days of
final receipt of the funds payable under the settlement, an Affidavit from counsel certifying
compliance with this Order. Counsel shall attach to the Affidavit a copy of the certificates of
deposit and/or bank accounts containing the required restrictions and copies of confirmation of the
funding of the periodic payments.

       Defendants Richard Nicoletti and Matthew McCarthy are DISMISSED from this action,
with prejudice.

                                               BY THE COURT:


                                               ________________________________
                                               William H. Yohn, Jr., U.S. District Judge




                                                   3
                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


BERNADETTE WINANS                            :
as Administrator of the Estate of            :
CARMELO WINANS, deceased                     :       CIVIL ACTION NO. 11-05138-WY
and on behalf of                             :
Minor Plaintiffs                             :
HAROLD JHAMIR WINANS and                     :
JHANAE BECKHAM                               :
                     Plaintiffs              :
                                             :
               v.                            :
                                             :
PO RICHARD NICOLETTI,                        :
PO MATTHEW McCARTHY                          :
           and                               :
CITY OF PHILADELPHIA,                        :
               Defendants                    :

                             PLAINTIFF’S MOTION TO
                      APPROVE SETTLEMENT AND DISTRIBUTION

       Plaintiff, Bernadette Winans, by and through her attorney, Alan L. Yatvin, moves this

Honorable Court to Approve Settlement and Distribution, pursuant to E.D.Pa. Local Rule 41.2, and

in support thereof, states the following:

1.     Plaintiff is Bernadette Winans, who was appointed Administrator of the Estate of Carmelo

Winans, on March 23, 2011, by the Register of Wills of Philadelphia County, Commonwealth of

Pennsylvania, No. A1254-2011. Exhibit "A". Ms. Winans is the mother of Carmelo Winans

(“Decedent”). Lavonne Beckham, mother of Decedent’s minor children, renounced her right to

serve as administrator, in favor of Bernadette Winans.

2.     Decedent died on March 13, 2013, as the result of being shot by a Philadelphia Police

Officer. The facts alleged by Plaintiff, but denied by Defendants, can be summarized as follows:


                                                 1
               On the afternoon of March 13, 2011, Carmelo Winans, an emotionally
        troubled young man, sat on the floor in an isolated corner of the kitchen of the house
        he shared with his father, Carmelo Santiago, and his grandparents, holding a small
        steak knife to his neck. As he sat on the floor, he kept repeating "god loves me", but
        was not responding to his father's entreaties. He was not threatening anyone and he
        was not engaging in any aggressive actions against anyone else. His father, Carmelo
        Santiago, fearing his son might harm himself, phoned the police to come help his
        child.

        Philadelphia Police Officer Nicoletti and McCarthy, arrived and entered the house
        in uniform, with guns drawn. Shortly after they arrived on the scene, McCarthy
        called for an officer with a taser. Officer Jill Kerstetter a Crisis Intervention Trained
        (CIT) officer, responded to the scene.

        Although Winans had put down the knife, and although CIT Officer Kerstetter had
        arrived, Nicoletti left his position of safety to jump on Winans. Nicoletti’s gun went
        off, and he mistakenly announced that he had been shot, even though it was actually
        Winans who had been shot. McCarthy then fired two close range shots at Carmelo
        Winans. Fatally wounded, Carmelo Winans expired seconds after being shot.

3.      Defendants deny some or all of the foregoing factual allegations and deny liability.

4.      Decedent died intestate.

5.      Decedent did not have a spouse.

6.      Decedent had two minor children:

        a.      Harold Winans, DOB 12/20/99, who resides at 2651 N. 8th Street, Philadelphia, PA,

                with his mother, Lavonne Beckham.

        b.      Jhanae Beckham, DOB 7/24/02, who resides at 2651 N. 8th Street, Philadelphia, PA,

                with her mother, Lavonne Beckham.

7.      Other than the foregoing, Plaintiff is aware of no other parties who are intestate heirs with

a possible interest.

8.      This action was initiated by the filing of a complaint against Defendants Nicoletti, McCarthy

and the City of Philadelphia on August 11, 2011. Exhibit “B”.


                                                   2
9.     The case has been actively litigated since counsel was first contacted in March of 2011,

shortly after decedent's death, and has included:

       a.      Opening of the decedent's estate;

       b.      Assisting and advising the administrator in the management of decedent's estate;

       c.      Thousands of pages of documentary discovery disclosed by the City;

       d.      Nineteen (19) Depositions;

       e.      Travel to Tyson’s Corner, Virginia for expert deposition;

       f.      Consulting with and obtaining Plaintiff's experts;

       g.      Voluminous motion for summary judgment;

       h.      Trial preparation.

10.    The matter was set for trial on January 6, 2013.

11.    As a result of discussions, the parties have agreed to proposed settlement to be paid by

Defendant City of Philadelphia in the amount of $180,000.00.

12.    Counsel is of the professional opinion that the proposed settlement amount is reasonable

under the particular circumstances of this case. Specifically:

       a.      Defendants vigorously dispute and contest the facts.

       b.      There is conflicting eye-witness testimony regarding the circumstances of the

               shooting of decedent.

       c.      There are conflicting interpretations which may be attached to the physical evidence.

       d.      Although the Court denied summary judgment on this ground, a jury would decide

               this case under Pennsylvania and federal court decisions which impose an extremely

               high standard for the claims brought by Plaintiff.


                                                    3
      e.     Although the this Court denied summary judgment on this ground, the individual

             officers claim qualified immunity, which immunity if found post-trial or on appeal,

             would inure to their benefit and to that of the City of Philadelphia, potentially

             mooting any judgment against any of the Defendants.

      f.     Even if an individual officer was found liable, he might be found to have engaged in

             willful misconduct, and thus not entitled to indemnification by the City of

             Philadelphia, pursuant to the Pennsylvania Political Subdivision Tort Claims Act.

             As a result, any verdict might prove uncollectible in whole or in part.

      g.     There are conflicting expert opinions as to the extent to which the force used against

             decedent was unconstitutionally unreasonable.

      h.     The amount of damages are, in many respects, highly speculative.

      i.     Decedent died at the scene, shortly after being shot.

      j.     Decedent had a limited employment history and lost future residual earnings may

             have been quite low. See Defendant’s expert report, Exhibit “C”. This picture is

             further complicated by Decedent’s apparent substance abuse issues.

      k.     Carmelo Santiago, an adult plaintiff and percipient witness to the events, has resolved

             his own independent claim for the gross amount of $225,000, payable by Defendant

             City of Philadelphia. Because all costs and expenses are being paid from Mr.

             Santiago’s settlement, and because of liens for his psychological treatment arising

             from the fatal shooting of his son, Mr. Santiago’s net is anticipated to be slightly

             lower than the proposed net settlement in this federal action.

13.   Counsel is of the professional opinion that the proposed distribution among the claims is


                                               4
reasonable due to the following:

       a.       The most significant claim in this federal action is the wrongful death claim on behalf

                of decedent's minor children. Decedent's tragic death deprives his minor children

                of their father's support, companionship, services, maintenance and/or assistance he

                would have provided them during the balance of his life, and particularly during their

                minority.

       b.       The value of the survival claim is less ascertainable. Decedent died at the scene,

                shortly after being shot, so the degree of conscious pain and suffering, if any, is

                difficult to ascertain and any damages based thereupon are speculative. Likewise, the

                value of decedent’s residual future earnings (in excess of personal maintenance) is

                quite modest. Exhibit “C”. As noted, decedent had a substance abuse history and

                controlled substances in his system at the time of his death.

14.    For the reasons set forth herein, Plaintiff Bernadette Winans, Administrator of Decedent’s

Estate, and Lavonne Beckham, mother of Decedent’s minor children, are each of the opinion that

the proposed settlement and the proposed distribution are reasonable. Exhibits "D" and "E",

respectively.

15.    Counsel has expended approximately $25,000.00 for reasonable expenses and costs related

to the litigation of this matter and the Santiago state court action arising from the same events. The

expenses and costs were kept low by conducting discovery applicable to both actions, including

depositions, to the extent possible. Because it is difficult to parse the amounts attributable to each

action, all costs are being paid from the Santiago settlement.

16.    The proposed settlement is $180,000.00.


                                                  5
17.    Counsel requests counsel fees in the amount of $ 63,000.00, which amount represents a

contingency fee of Thirty-Five Percent (35%) of the settlement amount. This is a voluntary

reduction from the Forty Percent (40%) fee terms under which counsel was retained. The Fee

Agreements executed by Ms. Winans (Administrator) and Ms. Beckham (parent of decedent’s minor

children) are attached as Exhibit "F", collectively.

18.    The requested Thirty-Five Percent (35%) of the settlement amount contingent fee is

appropriate in that:

       a.      The fee is within the range of contingent fees charged in the community for police

               misconduct cases and is substantially below the contingent fee ordinarily charged by

               undersigned counsel in police misconduct cases (40% of gross);

       b.      Plaintiff was financially unable to retain counsel or finance this litigation.

       c.      Counsel's assumption of representation in this matter included assuming the risk of

               advancing all costs and expenses in this case involving complicated issues of

               liability. Counsel has borne these expenses until the conclusion of the litigation, and

               would have done so in their entirety, had the litigation proven unsuccessful.

       d.      The fact of settlement as to the municipal defendants, as well as the amount of the

               offer were due, in part, to the identity of Plaintiff's counsel. Counsel are well-known

               to the lawyers of the Civil Rights Division of the City of Philadelphia's Law

               Department as experienced litigators in police misconduct cases.

       e.      Plaintiff's counsel have obtained three (3) Monell verdicts against the City of

               Philadelphia and have been counsel in numerous police shooting and/or death cases.

               Including:


                                                  6
                       Cahoe v. City of Philadelphia, E.D.Pa. 90-cv-7430 (Non-fatal off-duty officer
                       shooting. Believed to be the largest police shooting jury verdict against the
                       City of Philadelphia, Monell verdict);

                       Estate of Moises DeJesus v. City of Philadelphia, E.D.Pa. 96-cv-5416 (fatal
                       police beating);

                       Estate of Dante Dawson v. City of Philadelphia, E.D.Pa. 99-cv-2644 (fatal
                       police shooting of an unarmed man sitting in a car);

                       Estate of Milo Fornwald v. City of Philadelphia, Phila. CCP, February Term,
                       2004, No. 3551 (fatal shooting of a man in car);

                       Estate of Bobby Showell v. City of Philadelphia, Phila. Orphans Ct. 447 DE
                       of 2005 (fatal police shooting of backseat passenger in a car);

                       Estate of Julio Morais v. City of Philadelphia, E.D.Pa. 05-6577 (fatal police
                       shooting of an emotionally disturbed barricaded man);

                       Estate of Ok Cha Kwon v. City of Philadelphia, E.D.Pa. 06-582 (fatal police
                       shooting of an emotionally disturbed woman with limited English
                       comprehension);

                       Estate of Abraham v. Raso, 183 F.3d 279 (3d Cir. 1999) (Fatal shooting by
                       a police officer working a municipal sanctioned off-duty job in uniform, this
                       Circuit's lead case on reasonableness of police use of deadly force (shooting)
                       against persons in a fleeing vehicle);

                       Estate of Abebe Isaac v. City of Philadelphia, Phila. CCP June Term, 2009,
                       No. 3288 (fatal police shooting of an innocent bystander inside a home).

19.    Counsel has expended in excess of 300 hours attributable solely or jointly to this federal

litigation, over the more than three year course of this litigation, which hours would have been

sought as § 1988 fees at their regular, reasonable hourly rate of $525.

20.    Counsel has not and will not receive any collateral payments as counsel fees for

representation involving this law suit from third parties.

21.    Plaintiff proposes the funding of periodic payments for the benefit of the two (2) minor

wrongful death beneficiaries, as follows:

                                                 7
       a.      Payee: Harold Winans

               Lump sum payments as follows:

               $15,000.00 payable at age 19 (12/20/2018).
               $25,000.00 payable at age 25 (12/20/2024).
               $34,000.00 payable at age 30 (12/20/2029).

               All lump sum payments will be paid to either Harold Winans or his estate.

       b.      Payee: Jhanae Beckham

               Lump sum payments as follows:

               $20,000.00 payable at age 19 (07/24/2021).
               $25,000.00 payable at age 25 (07/24/2027).
               $39,000.00 payable at age 30 (07/24/2032).

               All lump sum payments will be paid to either Jhanae Beckham or her estate.

22.    Plaintiff requests allocation of the proceeds of the net settlement after counsel fees, in the net

amount of $ 117,000.00, to the wrongful death action in the amount of $110,000.00, and to the

survival action in the amount of $7,000.00, with distribution as follows:

       a.      To:     Popper & Yatvin, as counsel fee. . . . . . . . . . . . . . . . . . . . . . . . $ 63,000.00

       b.      The Wrongful Death Claim in the sum of $ 110,000.00 shall be paid as follows:

               1.      Payable by Defendant City of Philadelphia to BHG Structured
                       Settlements, Inc. to fund the periodic payments listed in
                       Section 2(a) and Section 2(b).. . . . . . . . . . . . . . . . . . . . . . . . . . $110,000.00

               2.      Funded periodic payments made according to the schedule as
                       follows (the "Periodic Payments"):

                       2(a)     Payee: Harold Winans

                       Lump sum payments as follows:

                       $15,000.00 payable at age 19 (12/20/2018).
                       $25,000.00 payable at age 25 (12/20/2024).
                       $34,000.00 payable at age 30 (12/20/2029).

                                                      8
                         All lump sum payments will be paid to either Harold Winans or his estate.

                         2(b)      Payee: Jhanae Beckham

                         Lump sum payments as follows:

                         $20,000.00 payable at age 19 (07/24/2021).
                         $25,000.00 payable at age 25 (07/24/2027).
                         $39,000.00 payable at age 30 (07/24/2032).

                         All lump sum payments will be paid to either Jhanae Beckham or her estate.

                3.       To:   Harold Winans, a minor
                         Cash Settlement in a Restricted Account.. . . . . . . . . . . . . . . . . . $ 5,000.00

                4.       To:   Jhanae Beckham, a minor
                         Cash Settlement in a Restricted Account.. . . . . . . . . . . . . . . . . . $ 5,000.00

        c.      The Survival Action in the sum of $ 7,000.00 shall be paid as follows:

        To:     Bernadette Winans, Administratrix of the
                Estate of Carmelo Winans. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $ 7,000.00

23.     The precise value of the periodic payments (see Exhibits “G” and “H”) is governed by the

available interest rates at the time the purchase is "locked in". If the periodic payments are not

purchased by 1/30/14, the amounts of the periodic payments may vary from those set forth in

Exhibits “G” and “H”. However, if purchase is not made by that date and the periodic payments are

more than modestly below those set forth in Exhibits “G” and “H”, counsel will return to the Court

for further instructions.

24.     The Release and Settlement Agreement setting forth the terms of the purchase of the Periodic

Payments is attached as Exhibit “I”.

25.     The Ratings for the periodic payment carrier is set forth in Exhibit “J”.

26.     The additional terms of the periodic payments are set forth in the Qualified Assignment and


                                                          9
Release Agreements. Exhibit “K” and “L”.

27.        The parties request the dismissal of Defendants Richard Nicoletti and Matthew McCarthy,

with prejudice, subject to the Court’s approval of the proposed settlement and distribution.

28.        Although the settling defendants dispute the factual and legal predicate for the claims in this

suit and do not join in the factual allegations contained herein, Amanda Shoffel, Deputy City

Solicitor, counsel for the Defendants, does not oppose the relief requested in this petition.

29.        No memorandum is being filed with this uncontested motion, pursuant to E.D.Pa. Local Rule

7.1.(c).

           WHEREFORE, Plaintiff prays this Honorable Court grant her motion and approve

settlement and distribution as follows:


                                                  By:     POPPER & YATVIN



                                                          Alan L. Yatvin, Esquire,
                                                          and with him
                                                          Howard D. Popper, Esquire
                                                          230 S. Broad Street, Suite 503
                                                          Philadelphia, PA 19102
                                                          (215)546-5700
                                                          Fax (215)546-5701
                                                          Popper.yatvin@verizon.net

December 23, 2013                                         Attorneys for Plaintiff




                                                    10
                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


BERNADETTE WINANS                       :
as Administrator of the Estate of       :
CARMELO WINANS, deceased                :       CIVIL ACTION NO. 11-05138-WY
and on behalf of                        :
Minor Plaintiffs                        :
HAROLD JHAMIR WINANS and                :
JHANAE BECKHAM                          :
                     Plaintiffs         :
                                        :
             v.                         :
                                        :
PO RICHARD NICOLETTI,                   :
PO MATTHEW McCARTHY                     :
           and                          :
CITY OF PHILADELPHIA,                   :
               Defendants               :


           CERTIFICATION PURSUANT TO E.D.PA. LOCAL RULE 7.1(B)

      I hereby certify that the foregoing motion is uncontested.




                                                Alan L. Yatvin

December 23, 2013




                                            1
                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


BERNADETTE WINANS                             :
as Administrator of the Estate of             :
CARMELO WINANS, deceased                      :     CIVIL ACTION NO. 11-05138-WY
and on behalf of                              :
Minor Plaintiffs                              :
HAROLD JHAMIR WINANS and                      :
JHANAE BECKHAM                                :
                     Plaintiffs               :
                                              :
               v.                             :
                                              :
PO RICHARD NICOLETTI,                         :
PO MATTHEW McCARTHY                           :
           and                                :
CITY OF PHILADELPHIA,                         :
               Defendants                     :


                                CERTIFICATE OF SERVICE

        I, ALAN L. YATVIN, do hereby certify that I am this day causing to be served a copy of the
foregoing Motion and Exhibits upon the persons and in the manner indicated below. The manner of
service satisfies the requirements of the Pa.R.Civ.P.


                                                    ___________________________
                                                    Alan L. Yatvin

Service by hand delivery, as follows:

Dated: December 23, 2013

TO:            Amanda C. Shoffel, DCS
               Law Department
               1515 Arch Street, 14th Floor
               Philadelphia, PA 19102
               (215) 683-5443
               Amanda.Shoffel@phila.gov
